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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                   )
MAIREN R. REAGAN                         )
                                         )     Case No. 18-16796-MER
                                         )     Chapter 7
             Debtor.                     )


    ORDER GRANTING MOTION TO APPROVE SETTLEMENT AGREEMENT
          BETWEEN THE TRUSTEE AND RACHEL MCQUEENEY


      THIS MATTER having come before the Court on chapter 7 trustee Jared C. Walters’
Motion to Approve Settlement Agreement Between Trustee and Rachel McQueeney (the
“Motion”).

       The Court, having considered the Motion, and objections, if any, being overruled,
determines that the Motion should be, and hereby is, GRANTED and the Settlement Agreement
attached as Exhibit 1 to the Motion is APPROVED.

      DATED this 24th day of October, 2018.

                                               BY THE COURT:



                                               _________________________________
                                               U.S. BANKRUPTCY JUDGE
